Adam M. SEifer 59/1i0r partner -
Maihew E. FlaIOW Mcmaging Pa.'\‘ner S

V. James Fi|liben, |l| Prmner
Ryan P. Ame$ Assorinte

S€if€l‘FlatOWj, PLLC

   

 

 

 

Dominique "MiSS>/" KOCh /\»'O¢"Hf@ 2319 <jimmmt A\/-l»-> cih-d_n 0 ms Nc;: 28207 Phone:704.512.0606
Wes|ey J. Rainer Associate Fax: 704.314.0'677
De$t'" C- Ha" Ofco‘””‘" ATTORNEYS AT LAW Www.seiferflatow|aw.com

UL"EN$H) ZN NOF¥H CAR{)L!NA

 

January 7, 2016

Sent via email: pmegaro@halscottmegaro.com
jhalscott@ halscottmegaro.com

Mr. Patrick Megaro

Mr. Jamie T. Halscott.

Appeals Law Group

33 East Robinson Street, Suite 210

Orlando, Florida 32801

RE: Anl‘onl`o Stukes v. DEBRA ANTNEY, individually and as Owner/Member/
Manager/CEO of Ml`zay Entertal`nment Inc.,' Ml`zay Music Group LLC,' Be]00
America, LLC; Be] 00 Radio LLC,' Daganda Entertainrnent LLC; Mizay Publishl`ng
LLC; and Ml`zay Management LLC,'

United States District Court; W.D.N.C. Civil Action No. 3:15-cv-176

Dear Counsel:

On October 22, 2015, you Were served With Plaintijj”s Fl`rst Set of Interrogatories and
Requestfor Productl`on of Documents InAl`d of Executl`on T 0 Defendant DebraAntney, Indivl`dually.
I did grant a 30 day extension; however, to date, We have not received Defendant Antney’s

responses Further, I did not receive any response to my letter of December 29, 2015 to indicate the
status of Ms. Antney’s responses

Pursuant to Rule 37 of the Federal Rules ofCivil Procedure, please allow this letter to serve
as formal notice of my second request to confer regarding the outstanding discovery. Please contact

my office Within five business days to discuss.

Thank you for your time and prompt attention in this matter. Please contact my office with
any questions or concerns.

Sincerely,

MMF/tmz~

Mathew E. Flatow
mathew@seiferflatow.com

MEF/vgm

 

www.seiferfl atowlaw.com

Case3:15-cV-00176-FDW-DSC Document47-6 Filed 05/12/16 Page 1

 

